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                           Exhibit 1
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 2 of 286 Page ID
                             Bruce#:1725
                                     Carlyle Bouton

      1                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
      2
      3                                    - - -
      4
            KEVIN RISTO, on behalf of          :    CASE NO. 2:18-cv-
      5     himself and all others             :    07241-CAS-PLA
            similarly situated,                :
      6                      Plaintiff,        :
                                               :
      7                vs.                     :
                                               :
      8     SCREEN ACTORS GUILD-AMERICAN :
            FEDERATION OF TELEVISION AND :
      9     RADIO ARTISTS, et al.,
                             Defendants.
     10
     11                                    - - -
     12                      Wednesday, October 21, 2020
     13                                    - - -
     14
     15                Remote videotaped stenographic deposition of
     16    BRUCE CARLYLE BOUTON, conducted at the location of the
     17    witness in Nashville, Tennessee, commencing at
     18    approximately 9:03 a.m., on the above date, before
     19    Rosemary Locklear, a Registered Professional Reporter,
     20    Certified Realtime Reporter.
     21
     22                                    - - -
     23                        GOLKOW LITIGATION SERVICES
                         877.370.3377 ph | 971.591.5672 Fax
     24                             deps@golkow.com
     25

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                            Exhibit 2
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       1                    UNITED STATES DISTRICT COURT
       2                    CENTRAL DISTRICT OF CALIFORNIA
       3
       4   KEVIN RISTO, on behalf                   )
           of himself and all others                )
       5   similarly situated,                      )
                                                    )
       6                  Plaintiffs,               )
                                                    )
       7         vs.                                )    Case No. 2:18-cv-
                                                    )    07241-CAS-PLA
       8   SCREEN ACTORS GUILD-AMERICAN             )
           FEDERATION OF TELEVISION AND             )
       9   RADIO ARTISTS, a Delaware                )
           corporation; AMERICAN FEDERATION         )
      10   OF MUSICIANS OF THE UNITED STATES )
           AND CANADA, a California                 )
      11   nonprofit corporation; et al.,           )
                                                    )
      12                  Defendants.               )
           __________________________________)
      13
      14
      15
      16                DEPOSITION OF DUNCAN CRABTREE-IRELAND
      17                          CONDUCTED VIRTUALLY
      18                     TUESDAY, FEBRUARY 16, 2021
      19                                9:05 a.m.
      20
      21   Job No. 269207
      22   Pages: 248
      23   Reported by:     Lorie Rhyne, CSR, RPR, CRR
      24   Appearing remotely from San Diego, California
      25



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                            Exhibit 3
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                                   #:1794

       1                       UNITED STATES DISTRICT COURT
       2                       CENTRAL DISTRICT OF CALIFORNIA
       3
       4   KEVIN RISTO, on behalf                      )
           of himself and all others                   )
       5   similarly situated,                         )
                                                       )
       6                     Plaintiffs,               )
                                                       )
       7         vs.                                   )   Case No. 2:18-cv-
                                                       )   07241-CAS-PLA
       8   SCREEN ACTORS GUILD-AMERICAN                )
           FEDERATION OF TELEVISION AND                )
       9   RADIO ARTISTS, a Delaware                   )
           corporation; AMERICAN FEDERATION            )
      10   OF MUSICIANS OF THE UNITED STATES )
           AND CANADA, a California                    )
      11   nonprofit corporation; et al.,              )
                                                       )
      12                     Defendants.               )
           __________________________________)
      13
      14
      15
      16                     30(b)(6) DEPOSITION OF SAG-AFTRA
      17                         DUNCAN CRABTREE-IRELAND
      18                           CONDUCTED VIRTUALLY
      19                       WEDNESDAY, FEBRUARY 17, 2021
      20                                   1:03 p.m.
      21
      22   Job No. 269209
      23   Pages:      101
      24   Reported by:        Lorie Rhyne, CSR, RPR, CRR
      25   Appearing remotely from San Diego, California



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  1          UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA
  2         CASE NO. 2:18-cv-07241-CAS-PLA
  3    KEVIN RISTO, on behalf of himself
       And all others similarly situated,
  4             Plaintiffs,
       vs.
  5    SCREEN ACTORS GUILD - AMERICAN
       FEDERATION OF TELEVISION AND RADIO
  6    ARTISTS, a Delaware corporation;
       AMERICAN FEDERATION OF MUSICIANS OF THE
  7    UNITED STATES AND CANADA, a California
       Nonprofit corporation; RAYMOND M.
  8    HAIR, JR., an individual, as Trustee of
       The AFM and SAG-AFTRA Intellectual
  9    Property Rights Distribution Fund;
       TINO GAGLIARDI, an individual, as
 10    Trustee of the AFM and SAG-AFTRA
       Intellectual Property Rights
 11    Distribution Fund; DUNCAN;
       CRABTREE-IRELAND, an individual, as
 12    Trustee of the AFM and SAG-AFTRA
       Intellectual Property Rights
 13    Distribution Fund; STEFANIE TAUB,
       an individual, as Trustee of the AFM
 14    And SAG-AFTRA Intellectual Property
       Rights Distribution Fund; JON JOYCE,
 15    An individual, as Trustee of the AFM
       And SAG-AFTRA Intellectual Property
 16    Rights Distribution Fund; BRUCE
       BOUTON, an individual, as Trustee
 17    Of the AFM and SAG-AFTRA Intellectual
       Property Rights Distribution Fund; and DOE
 18    RESPONDING PARTY 1-10,
                 Defendants.
 19        ****************************************
                  CORRECTED TRANSCRIPT OF
 20      ZOOM VIDEOTAPED DEPOSITION OF DENNIS DREITH
 21                 February 11, 2021
 22                      9:00 a.m.
        *****************************************
 23    REPORTED BY:
 24        BELLE VIVIENNE, CRR,
 25        JOB NO. 4420574

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  1                         A P P E A R A N C E S
  2
       FOR THE PLAINTIFFS, KEVIN RISTO AND THE
  3    CLASS:
  4       KIESEL LAW LLP
          MARIANA A. MCCONNELL, ESQ.
  5       PAUL R. KIESEL, ESQ.
          NICHOLAS BRANCOLINI, ESQ.
  6       8648 Wilshire Boulevard
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  7       310.854.4444
          mcconnell@kiesel.law
  8       kiesel@kiesel.law
          brancolini@kiesel.law
  9
            JOHNSON & JOHNSON LLP
10          NEVILLE LAWRENCE JOHNSON, ESQ.
            DANIEL B. LIFSCHITZ, ESQ.
11          439 North Canon Drive, Suite 200
            Beverly Hills, California 90210
12          310.975.1080
            njohnson@jjllplaw.com
13          dlifschitz@jjllplaw.com
14
15     FOR THE DEFENDANTS:
          JENNER & BLOCK LLP
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          ANDREW G. SULLIVAN, ESQ.
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          633 West 5th Street, Suite 3600
18        Los Angeles, California 90071
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19        ajthomas@jenner.com
          agsullivan@jenner.com
20        alyons@jenner.com
21
       VIDEOGRAPHER:
22        Terry Weiss
23
24
25

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  1    systems had to be put in place to affect                     10:34:33
  2    the distribution, coordinate with computer                   10:34:36
  3    programmers, software developers to                          10:34:39
  4    develop the systems necessary, oversee the                   10:34:41
  5    staff, be basically a head of all the                        10:34:45
  6    departments.                                                 10:34:50
  7                 It was a robust fund with a lot                 10:34:50
  8    of departments.       There was an accounting                10:34:52
  9    department and a IT department and a                         10:34:54
10     compliance department and so on and so                       10:34:59
11     forth.     So my job -- -- my job was oversee                10:35:02
12     all those departments.                                       10:35:08
13           Q.     Do you recall when you took the                 10:35:10
14     job what the approximate size of the                         10:35:14
15     Secondary Markets Fund was in terms of                       10:35:20
16     number of employees?                                         10:35:22
17           A.     We had employees in both L.A.                   10:35:28
18     and New York at that point.             Probably, I          10:35:31
19     would say combined maybe 15 employees or                     10:35:37
20     so.                                                          10:35:39
21           Q.     And in terms of the amount of                   10:35:40
22     residuals paid out every year, what was --                   10:35:44
23     what was the magnitude of that?                              10:35:48
24           A.     I believe when I took over at                   10:35:55
25     the end of 1999, there was $25 million a                     10:35:57

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            AFM & SAG-AFTRA Intellectual Property Rights Distribution Fund
            Budget and Analysis for Fiscal Years 2013
            Proposed Budget for Fiscal Year 2014


                                                                                                        Budget 2014                                              Budget 2013                                                 Expenses 2013                                               Under/(Over)
                                                                                                                                                 Leased FMSMF                          AFM & AFTRA
            Acct ID   Account Name                         Total Budget       ADM          GEN              SRD           AVD        SYM              EE's       Total Budget            General           SRD             AVD            SYM            Leased        Total Expenses
            1410      Computers                                    22,000                   22,000                                                                    13,500                                  1,796                                                            1,796         11,704.00
            1430      Equipment                                    26,000                   26,000                                                                     5,500                                                                                                       -          5,500.00
            1450      Furniture & Fixtures                              -                                                                                              9,000                                 13,326                                                           13,326         (4,326.00)
            1470      Leasehold Improvements                       10,898                   10,898                                                                     3,200                                 10,700                                                           10,700         (7,500.00)
            1490      Systems                                      40,000                   40,000                                                                    14,175                   4,900                                                                           4,900          9,275.00
            1510      Website                                      10,200                   10,200                                                                    30,000                  19,800                                                                          19,800         10,200.00
            1620      Prepaid Insurance                             3,500                    3,500                                                                     3,500                   3,054                                                                           3,054            446.00
            6020      Bank Fees                                    13,115                                      9,500        3,600           15                        14,850                                 14,045           3,167               25                          17,237         (2,387.00)
            6040      Printing (Distribution)                      61,252                     9,097           26,040       26,000          115                       131,500                   7,908         31,749          24,776              112                          64,545         66,955.00
            6050      Research                                     10,375                                      2,475        7,500          400                        11,014                                  2,351           7,374              398         9,164            19,287         (8,273.00)
            6110      Administrative                                    -                                                                                             54,746                  70,000         19,746                                                           89,746        (35,000.00)
            6120      Advertisement                                31,225                   31,225                                                                    25,000                  28,225                                                                          28,225         (3,225.00)
            6130      Dues & Subscriptions                         15,474           349      3,900               905          814            8          9,498          2,219                   4,589          1,332             945                8                           6,874         (4,655.00)
            6170      Delivery & Postage                           10,640                    5,300             3,530        1,200          610                         6,700                   5,312          2,909           1,016              608                           9,845         (3,145.00)
            6190      Maintenance/Repairs                          22,059                    6,850             4,738          456           15         10,000         24,399                     816            538             338               14        14,671            16,377          8,022.00
            6195      Loss on Asset Disposal                            -                                                                                              6,000                                                                                                       -          6,000.00
            6230      Rent-Office Space                           221,922      10,696       17,424          134,614        50,807      4,298            4,083        182,792                                121,572          49,288           1,515                          172,375         10,417.00
            6240      Insurance-BusinessProp Etc                    4,523         259          776            2,496           923         69                          16,075                                  3,216             149               8                            3,373         12,702.00
            6245      Insurance-Other                              12,554                   12,554                                                                         -                                                                                 1,046             1,046         (1,046.00)
            6250      Business Office Expense - Licenses                -                                                                                                880                                                                                                       -            880.00
            6260      Supplies-computer hardware                        5                                                                   5                          3,000                     522          8,137             295                                            8,954         (5,954.00)
            6270      Supplies-computer software                    1,980                    1,980                                                                     4,382                   3,263          3,818           1,106               80                           8,267         (3,885.00)
            6280      Supplies-GeneralOfficeSupplies               37,869       2,144        6,832            20,680        7,645          568                        26,681                                 16,520           6,018              288         2,171            24,997          1,684.00
            6285      Supplies-GenlOfficeFurn/Equip                55,718      14,198       13,623            21,075        6,772           50                        26,161                                 10,148           1,038               47         4,022            15,255         10,906.00
            6290      Utilities ( A/C, Elec.,Tel)                  21,500                   13,131             1,094        1,250          525          5,500          4,268                                  1,983           1,228              522         6,965            10,698         (6,430.00)
            6310      Accounting                                       10                       10                                                                        10                      10                                                                              10              0.00
            6320      Audit Fees                                   18,000                   18,000                                                                    15,000                  17,300                                                                          17,300         (2,300.00)
            6350      Bank Management                              76,111                   76,111                                                                    60,000                  57,083                                                                          57,083          2,917.00
            6370      Consultant                                   45,282                   26,082                                                     19,200         35,000                  39,066                                                                          39,066         (4,066.00)
                                                                                                                                                                                                                                                                                                                                                                          #:1905




            6375      Consultant-Research                         125,000                                                  75,000     50,000                          91,928                                                103,006          53,674                          156,680        (64,752.00)
            6380      Equipment Lease                              13,736                                      3,676          675        285            9,100         11,585                                  2,968             673             283         12,473            16,397         (4,812.00)
            6390      Legal                                        38,005                   38,000                              -          5                          19,000                                 23,954          13,831               2                           37,787        (18,787.00)
            6510      Staff Salaries                            2,297,400     315,342      517,023          955,341       389,405     34,793           85,496      1,632,730                306,640         567,383         298,618          20,947        246,504         1,440,092        192,638.00
            6530      Contributions-Pension                       192,756      26,919       41,079           81,274        33,102      2,927            7,455        139,784                 23,412          51,061          26,707           1,750         18,372           121,302         18,482.00
            6540      Contributions-Retirement                     68,470       9,460       15,059           28,660        11,682      1,044            2,565         46,600                  8,477          16,361           8,643           1,494          7,886            42,861          3,739.00
            6560      Insurance-Health                            325,335      26,496       71,084          156,466        55,962      6,501            8,827        205,413                 46,468          87,842          41,462           1,135         14,029           190,936         14,477.00
            6565      Fringe-Health Reimbursement Acct             68,974       3,510       15,308           34,064        13,169        952            1,972         49,640                 16,122          30,477          16,475             917          5,079            69,070        (19,430.00)
            6570      Insurance-Life                                1,113          56          237              558           220         16               26          1,088                    175             330             162              11             53               731            357.00
            6580      Insurance-Worker's Comp                      19,224       2,788        4,016            7,643         3,183        299            1,295         15,710                                  4,541           1,247              67          7,300            13,155          2,555.00
            6650      Payroll Taxes-Social Security               142,120      19,551       32,055           59,231        24,143      2,157            4,983        101,229                  17,519         36,654          18,712           1,281         14,150            88,316         12,913.00
            6660      Payroll Taxes-Medicare                       33,312       4,572        7,497           13,852         5,646        505            1,240         23,675                   4,097          8,590           4,376             300          3,442            20,805          2,870.00
            6670      Payroll Taxes-Futa                            1,623          86          301              833           308         23               72          1,363                     349            661             293              12             78             1,393            (30.00)
            6680      Payroll Taxes-SUI                            13,995         763        2,659            7,356         2,719        202              296          7,128                   2,662          5,473           2,471             107            804            11,517         (4,389.00)
            6690      Payroll Processing                            5,719         298          896            2,882         1,066         79              498          3,400                     621          1,245             567              25          2,159             4,617         (1,217.00)
            6710      Seminar/Training                             16,711       1,748        3,595            2,583                       85            8,700          3,575                     889          2,583           1,882              81                            5,435         (1,860.00)
            6720      Temporary Help                               49,390                                    47,500                                     1,890         86,223                  24,248                                                                          24,248         61,975.00
            6810      Meals                                        15,863       2,916           600           7,882         4,000          465                         8,700                                  7,366           3,241             460                           11,067         (2,367.00)
            6830      Parking                                      30,384       2,040         5,500          11,950         4,990          204          5,700         19,882                                 13,961           5,166             390                           19,517            365.00
            6850      Travel                                       29,315      13,429                         2,000        10,336                       3,550         40,150                                 12,208           3,633           8,677                           24,518         15,632.00
                                                                                                                                                                                                                                                                                                  0.00
                      Total                                    4,260,656      457,621     1,110,401        1,650,897      742,573    107,220          191,944      3,238,355                713,527       1,137,544         647,903          95,238        370,368         2,964,580        273,775.00


                                                                   112,598            -      112,598                  -          -           -               -             Cap Exp             27,754            25,822             -                -             -            53,576
                                                                  4,148,058     457,621      997,803         1,650,897     742,573     107,220         191,944            Adm Exp             685,773        1,111,722        647,903           95,238       370,368         2,911,004
                                                                  4,260,656     457,621     1,110,401        1,650,897     742,573     107,220         191,944             Tot Exp            713,527        1,137,544        647,903           95,238       370,368         2,964,580




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                            Exhibit 5
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 199 of 286 Page ID
                                 Tino    Gagliardi
                                    #:1922

       1                  UNITED STATES DISTRICT COURT
       2                CENTRAL DISTRICT OF CALIFORNIA
       3                             ---oOo---
       4
       5    KEVIN RISTO, on behalf of
            himself and all others
       6    similarly situated,
       7                       Plaintiffs,
       8          vs.                            No.
                                                 2:18-cv-07241-CAS-PLA
       9
            SCREEN ACTORS GUILD-AMERICAN
      10    FEDERATION OF TELEVISION AND
            RADIO ARTISTS, a Delaware
      11    corporation; AMERICAN
            FEDERATION OF MUSICIANS OF THE
      12    UNITED STATES AND CANADA, a
            California nonprofit
      13    corporation, et al.,
      14                       Defendants.
      15    ______________________________/
      16
      17       VIDEOTAPED AND VIDEOCONFERENCED DEPOSITION OF
      18                           TINO GAGLIARDI
      19                     Friday, October 9, 2020
      20
      21
      22
      23    Stenographically Reported by:
      24    GINA V. CARBONE, CSR, RPR, RMR, CRR, CCRR
      25    California State Lic. No. 8249

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                            Exhibit 6
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 203 of 286 Page ID
                               Kristina
                                    #:1926 Gorbacsov

       1                      UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
       2
       3                                    - - -
       4
             KEVIN RISTO, on behalf of          :    CASE NO. 2:18-cv-
       5     himself and all others             :    07241-CAS-PLA
             similarly situated,                :
       6                      Plaintiff,        :
                                                :
       7                vs.                     :
                                                :
       8     SCREEN ACTORS GUILD-AMERICAN :
             FEDERATION OF TELEVISION AND :
       9     RADIO ARTISTS, et al.,
                              Defendants.
      10
      11                                    - - -
                                  PORTIONS CONFIDENTIAL
      12                        Friday, October 23, 2020
      13                                    - - -
      14
      15                Remote videotaped stenographic deposition of
      16    KRISTINA GORBACSOV, conducted at the location of the
      17    witness in Los Angeles, California, commencing at
      18    approximately 9:03 a.m., on the above date, before
      19    Rosemary Locklear, a Registered Professional Reporter,
      20    Certified Realtime Reporter and California CSR (#13969).
      21
      22                                    - - -
      23
      24                      GOLKOW LITIGATION SERVICES
                         877.370.3377 ph | 971.591.5672 Fax
      25                            deps@golkow.com

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                            Exhibit 7
Case 2:18-cv-07241-CAS-PLA Document
                 Confidential       109-1 Filed
                                Pursuant      to04/23/21 Page 224Order
                                                  Protective      of 286 Page ID
                                    #:1947

       1                  UNITED STATES DISTRICT COURT
       2                 CENTRAL DISTRICT OF CALIFORNIA
       3    KEVIN RISTO, on behalf of               )
            himself and all others                  )
       4    similarly situated,                     )
                                                    )
       5               Plaintiff(s),                )
                                                    )
       6      vs.                                   ) Case No.:
                                                    ) 2:18-cv-07241-CAS-PLA
       7    SCREEN ACTORS GUILD-AMERICAN            )
            FEDERATION OF TELEVISION AND            )
       8    RADIO ARTISTS, a Delaware               )
            corporation; AMERICAN                   )
       9    FEDERATION OF MUSICIANS OF THE          )
            UNITED STATES AND CANADA, a             )
      10    California nonprofit                    )
            corporation; et al.,                    )
      11                                            )
                       Defendants.                  )
      12    ______________________________          )
      13
      14
      15            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
      16                     VIDEOTAPED DEPOSITION OF
      17                             RAYMOND HAIR
      18                      Appearing Remotely From
      19                             Denton, Texas
      20                  Wednesday, February 24, 2021
      21
      22
      23
      24    Stenographically reported by:
            EMILY SAMELSON, CSR No. 14043
      25    Golkow Job No.: 269544



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                                    #:1950
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                                    #:1956
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 234 of 286 Page ID
                                    #:1957
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 235 of 286 Page ID
                                    #:1958
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 236 of 286 Page ID
                                    #:1959
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 237 of 286 Page ID
                                    #:1960
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 238 of 286 Page ID
                                    #:1961
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 239 of 286 Page ID
                                    #:1962
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 240 of 286 Page ID
                                    #:1963
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 241 of 286 Page ID
                                    #:1964
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 242 of 286 Page ID
                                    #:1965
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 243 of 286 Page ID
                                    #:1966
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 244 of 286 Page ID
                                    #:1967
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 245 of 286 Page ID
                                    #:1968
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 246 of 286 Page ID
                                    #:1969
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 247 of 286 Page ID
                                    #:1970
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 248 of 286 Page ID
                                    #:1971
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 249 of 286 Page ID
                                    #:1972
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 250 of 286 Page ID
                                    #:1973
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 251 of 286 Page ID
                                    #:1974
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 252 of 286 Page ID
                                    #:1975
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 253 of 286 Page ID
                                    #:1976
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 254 of 286 Page ID
                                    #:1977
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 255 of 286 Page ID
                                    #:1978
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                                    #:1979




                            Exhibit 8
Case 2:18-cv-07241-CAS-PLA Document
                 Confidential       109-1 Filed
                                Pursuant      to04/23/21 Page 257Order
                                                  Protective      of 286 Page ID
                                    #:1980

       1                  UNITED STATES DISTRICT COURT
       2                 CENTRAL DISTRICT OF CALIFORNIA
       3    KEVIN RISTO, on behalf of             )
            himself and all others                )
       4    similarly situated,                   )
                                                  )
       5               Plaintiff(s),              )
                                                  )
       6      vs.                                 ) Case No.:
                                                  ) 2:18-cv-07241-CAS-PLA
       7    SCREEN ACTORS GUILD-AMERICAN          )
            FEDERATION OF TELEVISION AND          )
       8    RADIO ARTISTS; a Delaware             )
            corporation; AMERICAN                 )
       9    FEDERATION OF MUSICIANS OF THE        )
            UNITED STATES AND CANADA, a           )
      10    California nonprofit                  )
            corporation; et al.,                  )
      11                                          )
                       Defendants.                )
      12    ______________________________        )
      13
      14
      15            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
      16                     VIDEOTAPED DEPOSITION OF
      17    RULE 30(b)(6) WITNESS FOR THE AMERICAN FEDERATION OF
      18                  MUSICIANS, BY:     RAYMOND HAIR
      19                      Appearing Remotely From
      20                             Denton, Texas
      21                   Thursday, February 25, 2021
      22
      23
      24    Stenographically reported by:
            EMILY SAMELSON, CSR No. 14043
      25    Golkow Job No.: 269545



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                                    #:1981
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                                    #:1982
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                                    #:1983
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                                    #:1984
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                                    #:1985
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                                    #:1986
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                                    #:1987
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                                    #:1988
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                                    #:1989
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                                    #:1990
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                                    #:1991
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                                    #:1992
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 270 of 286 Page ID
                                    #:1993
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 271 of 286 Page ID
                                    #:1994




                            Exhibit 9
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 272 of 286 Page ID
                                    #:1995

  1                      UNITED STATES DISTRICT COURT
  2                     CENTRAL DISTRICT OF CALIFORNIA
  3
  4     _____________________________
  5     KEVIN RISTO, on behalf of                 )
        himself and all others                    )
  6     similarly situated,                       )
  7                  Plaintiffs,                  )
                                                  )Case No.
  8           vs.                                 )2:18-cv-07241-CAS-PLA
                                                  )
  9     SCREEN ACTORS GUILD -                     )
        AMERICAN FEDERATION OF                    )
 10     TELEVISION AND RADIO ARTISTS,)
        a Delaware corporation,                   )
 11     et al.,                                   )
 12                  Defendants.                  )
        _____________________________)
 13
 14
 15          VIDEOCONFERENCE DEPOSITION OF SHARI HOFFMAN
 16                      Friday, February 19, 2021
 17                                   Volume I
 18
 19
 20     Reported by:
 21     KATHLEEN E. BARNEY
 22     CSR No. 5698
 23     Job No. 4420582
 24
 25     PAGES 1 - 164

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                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 273 of 286 Page ID
                                    #:1996
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                                    #:1997
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                                    #:1998
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 276 of 286 Page ID
                                    #:1999




                           Exhibit 10
Case 2:18-cv-07241-CAS-PLA Document 109-1 Filed 04/23/21 Page 277 of 286 Page ID
                                     Jon Joyce
                                    #:2000

       1                     UNITED STATES DISTRICT COURT
       2                     CENTRAL DISTRICT OF CALIFORNIA
       3    KEVIN RISTO,                        )
                                                )
       4                      Plaintiffs,       )
                                                )
       5    vs.                                 )   No.
                                                )   2:18-cv-07241-CAS-
       6    SCREEN ACTORS                       )   PLA
            GUILD-AMERICAN FEDERATION           )
       7    OF TELEVISION AND RADIO             )
            ARTISTS, et al.,                    )
       8                                        )
                              Defendants.       )
       9    ______________________________)
      10
      11
      12                 VIDEOTAPED DEPOSITION OF JON JOYCE
      13                                  Volume I
      14                        APPEARING REMOTELY FROM
      15                          BRATTLEBORO, VERMONT
      16                     TUESDAY, SEPTEMBER 22ND, 2020
      17
      18
      19
      20
      21     REPORTED BY:
             MONICA LEPE-GEORG
      22     CSR No. 11976
             APPEARING REMOTELY FROM CLOVERDALE, CALIFORNIA
      23
             Job No. 255738
      24
      25     PAGES 1 - 107

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                                    #:2001
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                                    #:2002
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                                    #:2003
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                                    #:2004
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                                    #:2005
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                                    #:2006
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                                    #:2007
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                                    #:2008
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                                    #:2009
